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Attorney for Defendants

           IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                           NORTHERN DIVISION


    MARIA CALZADA, et al.,                          ORDER GRANTING IN PART AND
                                                    DENYING IN PART [25] DEFENDANTS’
                     Plaintiffs,                    MOTION FOR PARTIAL JUDGMENT
    v.                                              ON THE PLEADINGS

    ROY CITY, et al.,                               Case No. 1:16-cv-00165-DN

                     Defendants.                    District Judge David Nuffer


           This matter came before the Court on December 21, 2017, at 9:00 A.M. on Defendants’

Motion for Partial Judgment on the Pleadings (the “Motion”), 1 before District Judge David Nuffer.

Plaintiffs were represented by Melinda Checketts Hibbert and L. Miles LeBaron, and Defendants

were present and represented by Frank D. Mylar and Andrew Hopkins. After hearing oral

argument and discussions on the record,

           IT IS HEREBY ORDERED that the Motion 2 is GRANTED IN PART and DENIED IN

PART as follows:




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    Docket no. 25, filed March 21, 2017.
2
    Id.
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      1.        State Tort Claims: The parties agree and the court orders that Plaintiffs’ Fifth

Cause of Action is dismissed based upon the Utah Governmental Immunity Act.

      2.       Governmental Units: The defendant departments, Roy City Police Department

and Weber County Sheriff’s Office, are dismissed because they are not separate legal entities from

RoyCity and Weber County, respectively, but the remaining claims against Roy City and Weber

County may proceed.

      3.       Standing: Constitutional claims may only be asserted by the estate of Jose Calzada.

Plaintiffs Maria Calzada and Manuela Rosales may proceed as Plaintiffs only as the personal

representatives of the Estate of Jose Calzada. The pleadings shall be changed going forward to

reflect that they are not suing as individuals, but only as representing the estate.

      4.       Utah Constitution: The parties agree, and it is ordered, that claims under Article

1, Sections 6 and 25 are dismissed. In addition, the Court concludes that an adequate remedy for

Jose Calzada’s estate is available under 42 U.S.C. § 1983, under the Fourth Amendment of the

United States Constitution in this particular case.

      5.       First, Second and Third Causes of Action. All aspects of Plaintiffs’ first three

causes of action shall remain in the case and shall proceed forward at this time. Plaintiffs’ Fourth

and Fifth Causes of Action are dismissed.

       Dated January 8, 2018.

                                               BY THE COURT:

                                               ____________________________
                                               David Nuffer
                                               United States District Judge




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